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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


 KARAMELION LLC,

                                Plaintiff,
                                                  Case No. 19-CV-06330
        v.
                                                  Judge Sharon Johnson Coleman
 FIBAR USA LLC,

                                Defendant.



  JOINT MOTION TO STAY ALL DEADLINES, NOTICE OF SETTLEMENT
          AND [PROPOSED] ORDER GRANTING THEREOF

       Plaintiff Karamelion LLC (“Plaintiff”) and Defendant Fibar USA LLC, (“Defendant”)

submit this Joint Motion to Stay All Deadlines and Notice of Settlement and respectfully present

to the Court the following:

       1.      Plaintiff and Defendant have reached a settlement in principle resolving all

matters in controversy between the parties in the above-referenced action and are in the process

of drafting and finalizing settlement papers.

       2.      Accordingly, Plaintiff and Defendant request a stay of all deadlines for a period of

thirty (30) days so that the parties can finalize their agreement and file appropriate dismissal

papers with the Court.

       WHEREAS, Plaintiff and Defendant request the Court to grant this Joint Motion to Stay

All Deadlines and enter an Order granting a temporary stay of all deadlines for a period of thirty

(30) days and extending the deadline to reply to Plaintiff’s response to Defendant’s Motion to

Dismiss, currently due June 12, 2020, for a period of (30 days).
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DATED: June 4, 2020                   Respectfully submitted,

DIRECTION IP LAW                      MCANDREWS, HELD & MALLOY, LTD.


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                                             ORDER

       IT IS HEREBY ORDERED, that all proceedings and deadlines in this case be stayed

for thirty (30) days and extending the deadline to reply to Plaintiff’s response to Defendant’s

Motion to Dismiss, currently due June 12, 2020, for a period of (30 days).



DATED: June __, 2020                          /s/

                                              Judge Sharon Johnson Coleman




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